          Case 8:20-cr-00260-TDC Document 81 Filed 11/09/21 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                          :

                 v.                               :               Criminal Case No. TDC-20-260

SEAN BROCKINGTON                                  :

                                           ...oooOooo...

                      GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through Erek L. Barron, United States Attorney for

the District of Maryland, and Hollis Raphael Weisman, Assistant United States Attorney,

submits the following Sentencing Memorandum. The government asks this Honorable Court to

impose a sentence of three years’ probation, with three special conditions: first, that the

defendant serve 60 days of intermittent confinement on 30 consecutive weekends; second, that

the defendant perform 300 hours of community service; and third, that the defendant make

restitution of $36,603.30. Such a sentence would fulfill the goals of sentencing pursuant to 18

U.S.C. § 3553.

                                  SENTENCING GUIDELINES

      The statute itself, 18 U.S.C. § 371, carries a maximum penalty of five years of imprisonment

and three years of supervised release. The presentence report calculates a sentencing guideline

range of probation to six months imprisonment, based on an Offense Level of 8 and a Criminal

History Category of I. PSR at 14, ¶ 61. The Government agrees with that calculation.

       The government takes issue, however, with the pre-sentence report recommendation.

PSR at 16-18. Based on the considerations mandated by Congress in 18 U.S.C. § 3553, 10 days

of intermittent confinement and 100 hours of community service is far too lenient and does not
                                                  1
          Case 8:20-cr-00260-TDC Document 81 Filed 11/09/21 Page 2 of 5



meet the standard set by Congress. That recommendation fails to accomplish the goals of

imposing punishment or effective deterrence for either the defendant or the community at large.

The fact that the defendant was sentenced to a period of probation as a result of his 2016

conviction, PSR ¶ 38, yet engaged in the instant offense, indicates that a period of probation

needs to have punitive and deterrent elements for the defendant to take it seriously.

                                   SENTENCING FACTORS

       Under 18 U.S.C. § 3553(a)(2), this Court “must weigh the seven factors listed in § 3553(a):

“(1) offense and offender characteristics; (2) the need for a sentence to reflect the basic aims of

sentencing ...; (3) the sentences legally available; (4) the Sentencing Guidelines; (5) Sentencing

Commission policy statements; (6) the need to avoid unwarranted disparities; and (7) the need for

restitution.” United States v. Fowler, 948 F.3d 663, 668 (4th 2020) (Citations and internal

quotation marks omitted). The sentence must be reasonable. Gall v. United States, 552 U.S. 38,

46 (2007).

       But the Court has discretion to determine the relative importance of the sentencing factors.

“While the consideration of one § 3553(a) factor to the exclusion of the others is not appropriate,

it is not required that the district court somehow give all the different factors precisely equal

weight. Sometimes one factor will outweigh the others. Sometimes one factor will stand out.”

United States v. Nance, 957 F.3d 204, 216 (4th Cir. 2020), cert. denied, No. 20-5825, 2020 WL

6385951 (U.S. Nov. 2, 2020), quoting United States v. Fowler, 948 F.3d at 672.

       Within § 3553(a)(2), Congress has set out four aims of sentencing: the need for the

sentence to reflect the seriousness of the offense promote respect for the law and provide just

punishment for the offender; deterrence; protection of the public; and rehabilitation of the

defendant.
                                                 2
          Case 8:20-cr-00260-TDC Document 81 Filed 11/09/21 Page 3 of 5




       This theft conspiracy was not a crime of impulse, in which the criminal acts were out of

character with the defendant’s general behavior. This crime involved repeated, premeditated

acts of stealing from a facility designed to support members of the military and their families.

       AAFES differs from most retail establishments. Profit is not its rationale. “AAFES is a

joint, nonappropriated fund instrumentality of the Department of Defense (DoD). . . . Among

other things, AAFES generates earnings used to support Morale, Welfare, and Recreation (MWR)

programs for the Armed Services. This same DoD Directive states that the Armed Services

exchange program is vital to mission accomplishment and forms an integral part of the non-pay

compensation system for active duty personnel. United States v. Passut, 73 M.J. 27, 30 (C.A.A.F.

2014) (Internal quotation marks and citations omitted).

       Day after day, the defendant, along with his two co-defendants, walked into AAFES

stores, placed anything from televisions to children’s clothing into their shopping carts and

walked out without paying. Some days, the items the defendant stole totaled in the thousands.

The defendant and his two co-defendants then went to the return desk of the same or a different

AAFES store, turned back the stolen merchandise and received Visa gift cards in exchange.

The defendant was not entitled to use the AAFES stores in the first place, and he certainly was

not entitled to use the legitimate identification card belonging to “Individual 1,” who had no

involvement or knowledge of the theft scheme. The loss to AAFES ended up being at least

$36,603.30.




                                                 3
          Case 8:20-cr-00260-TDC Document 81 Filed 11/09/21 Page 4 of 5



       The sentencing factors listed in § 3553(a) support the government’s request for 60 days

imprisonment, to be served on weekends to avoid job loss, and 300 hours of community service.

Factor (2)(A) requires the sentence “to reflect the seriousness of the offense, to promote respect

for the law, and to provide just punishment for the offense.” The defendant was stealing from

military service people, many of whom would probably appreciate having just one of the flat-

screen television sets that the defendant stole. The significant restriction of 30 consecutive

weekends in custody would punish the defendant for his behavior and, one hopes, teach him not

to repeat the crimes.

       The requirement that the defendant pay restitution goes without comment. Restitution is

not punishment or deterrence; it is merely equity.

       The government notes that § 3553(a)(2) lists two additional factors to consider in

imposing sentence: protection of the public and providing the defendant with additional

services. Those factors support the imposition of a sentence of probation that the government is

recommending. They do not mean that this Court should ignore the first two factors,

punishment for the offense and deterrence.




                                                 4
          Case 8:20-cr-00260-TDC Document 81 Filed 11/09/21 Page 5 of 5



                                         CONCLUSION

      For the reasons stated above, the Government submits that a sentence of probation with the

special condition of 60 days imprisonment to be served on 30 consecutive weekends, 300 hours of

community service and restitution is appropriate and no greater than necessary to achieve the goals

established by Congress under 18 U.S.C. § 355

                                                Respectfully submitted,

                                                Erek L. Barron
                                                United States Attorney for the
                                                 District of Maryland



                                                ______________________________
                                                Hollis Raphael Weisman
                                                Assistant United States Attorney
                                                Bar No. 11465
                                                United States Courthouse
                                                6500 Cherrywood Lane, Room 200
                                                Greenbelt, Maryland 20770
                                                301-344-4029; FAX: 301-344-4516
                                                hollis.weisman@usdoj.gov




                                                5
